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August 25; 2022
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                                                                     CLERK, U.S. DISTRICT COURT
                                                                   NORTH DISTRICT OF CALIFORNIA
District Court of the Northern District of California                     Oakland office
Oakland Courthouse
1301 Clay Street
Oakland; CA 94612



To Whom I May Concern,

I am reaching out to the Court regarding the case named. In re College Athlete NIL Litigation.
The case number is 4:20~cv-03919. 1 received notice about this case from the Villanova
University Athletics Department. I, Adeline Fischer, do not want any personal information
released.


Please let me know if you have any questions. 1 can be reached directly at
addiefi5cher(a comcast.net.


Sincerely,




Adeline Fischer
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